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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
FRANCIS ASSIFUAH,                                                :

                                     Movant,                     :

                           -against-                             :             ORDER

UNITED STATES OF AMERICA,                                        :       20-CV-6163 (AT)(KNF)
                                                                         15-CR-616 (AT)
                                      Respondent.                :
---------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         Francis Assifuah (“Assifuah”) has renewed his motion for the Court to appoint counsel to

represent him with respect to a 28 U.S.C. § 2255 motion. Assifuah has explained the grounds on

which he seeks relief through the § 2255 motion. Heretofore, those grounds had not been

provided to the Court. To facilitate the resolution of the application for appointed counsel,

Assifuah shall complete a financial affidavit, Form CJA 23, which the Court will provide to him.

         The completed financial affidavit shall be sent to Sabrina Broussard, Chambers of Judge

Kevin Nathaniel Fox, United States District Court, Southern District of New York, 40 Foley

Square, Room 425, New York, New York 10007.

Dated: New York, New York                                        SO ORDERED:
       October 16, 2020


Copy mailed to:

Francis Assifuah
